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AO 442 (Rev 1111 1) Am:st Warrant

                   mp
                                          UNITED STATES DISTRICT COURT
          Jan 10, 2025
                                                            for the
                      Miami                        Middle District of Florida

                  United States of America
                                                25-MJ-2048-TORRES
                             v.                               )
                                                              )       Case No.
                         Daniel Liburdi                       )
                                                              )
                                                              )
                                                              )
                              Defendant

                                                  ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)
                                      --------------------------------
                                    Daniel Liburdi
who is accused of an offense or violation based on the following document filed with the court:

d Indictment        □ Superseding Indictment □ lnfonnation □ Superseding lnfonnation □ Complaint
□ Probation Violation Petition   □ Supervised Release Violation Petition □ Violation Notice □ Order of the Court
This offense is briefly described as follows:
 Conspiracy to Commit Bank Fraud - 18 U.S.C. § 1349
 Bank Fraud - 18 U.S.C. § 1344 and 2
 Money Laundering Conspiracy- 18 U.S.C. § 1956(h)




Date:   { z.//'J_/2.�
            , ,
City and state:       Tampa Florida
                                                                                     Printed nam.: aud title
                                                                                                          /11 �'----------,
                                                                                                               '
                                                           Return

           This warrant was received on (date) _______ , and the person was arrested on (date)
at (city and stale)

Date:
                                                                                   Arresting officer's signature



                                                                                      Printed name and title
                                                                     SE
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                          UNITED STATES DISTICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION
                             25-MJ-2048-TORRES
   UNITED STATES OF AMERICA

   V.                                        Case No.      � ·. ·2..y vr 5 toy - ll ll H - TC, W
                                                            18 u.s.c. § 1349
   DANIEL LIBURD!,                                          (Bank Fraud Conspiracy) [filA..
   JOSEPH SCOTTO,                                            18 u.s.c. § 1344
   GREGORY WALKER, and                                      (Bank Fraud)
   FRANK CARBONE III                                        18 U.S.C. § 1956(h)
                                                            (Money Laundering Conspiracy)

                                                            filed Under Seal

                                       INDICTMENT

         The Grand Jury charges:

                                     COUNT ONE
                                 •
                           (Conspiracy to COlllIDlt                o·c
                                                                   "C l·:'.i rio2
                                                 • Bank Fraud) i="!L.EO      L    Lf1,
                                                                                  ✓     .,,.2,...
                                                                                     c'M�,  _i:}
                                                                        _ USDC - �_ vo - ""J:.:.
                                                                             J,...,




   A.    Relevant Parties and Entities

         At times material to the Indictment:

         Individuals

         1.     DANIEL LIBURD! was a citizen of the United States who resided

   within the Middle District of Florida.

         2.     JOSEPH SCOTTO was a citizen of the United States who resided in

   Bay Shore, New York.

         3.     GREGORY WALKER was a citizen ofCdnada who resided in

   Burlington, Ontario.

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         4.      FRANK CARBONE III was a citizen of the United States who resided

   within the Middle District of Florida.

          5.     Morris Goldstein was a citizen of the United States who resided within

   the Middle District of Florida.

          6.     S.I. was a citizen of the United States who resided within the Middle

   District of Florida.

         Business Entities

          7.     International Click Exchange LLC ("ICE") was a Delaware entity

   organized in or around December 2018, owned, controlled, and directed by

   SCOTTO and WALK.ER. ICE engaged in the business of facilitating the creation

   and publication of online advertisements and directing of internet traffic to websites

   and online payment portals.

         8.      Green Brick Media LLC ("Green Brick") was a Wyoming entity

   organized in or around April 2016, owned, controlled, and directed by LIBURD!,

   which served as a business management entity.

          9.     Swipe Wyre Media LLC ("Swipe Wyre") was a Wyoming entity

   organized in or around February 2021, headquartered in the Middle District of

   Florida, owned, controlled, and directed by LIBURD! and CARBONE III, which

   conducted merchant processing and served as a business management entity.

          10.    West Town Bank & Trust was a federally insured financial institution

   headquartered in North Riverside, Illinois, that served as an "Acquiring Bank" for

   merchant accounts, and whose deposits were insured by the FDIC.
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          11.   West Town Payments, LLC was a North Carolina registered business
   entity that served as an "Independent Sales Organization" or agent for businesses
   seeking merchant accounts on behalf of West Town Bank & Trust.
          12.   Fifth Third Bank, N.A. was a federally chartered financial institution
   headquartered in Cincinnati, Ohio, that served as an "Acquiring Bank" for merchant
   accounts, and whose deposits were insured by theFDIC.
          13.   Payroc, LLC was an lliinois registered business entity that served as an

   "Independent Sales Organization" or agent for businesses seeking merchant accounts
   on behalf ofFifth Third Bank, N.A.

          14.   Quick Body Nutra, LLC, was a business entity registered in the State of
   Wyoming and headquartered in the Middle District of Florida, owned and
   controlled by LIBURD!, which conducted merchant processing activities.
   B.    Relevant Terms & Concepts

          Termlnoloty

          15.   An "Independent Business Owner" ("IBO") was a term utilize4 by the

   conspirators to describe an individual recruited to provide personally identifiable
   information ("PII"), such as name, social security number, date of birth, address,
   and other information in return for compensation.
          16.   An "Acquiring Bank" was a federally insured or chartered financial
   institution located within the United States which was involved in the provisioning
   of financial accounts for merchants and other commercial entities and served as a
   responsible entity in the processing of credit card and debit card transactions.
                                              3
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          17.    An "Independent Sales Organization" ("ISO") was a business entity·

   that had a contractual relationship with an Acquiring Bank to serve as its agent for

   the purpose of managing relationships with merchants and commercial entities that

   had a merchant account with the Acquiring Bank.

          18.    A "merchant account" was a type of financial institution account

   provided by an Acquiring Bank that provided a way for merchants and commercial

   entities to accept debit and credit card payments, either in-person or online.

   Merchants could obtain merchant accounts by completing an application with an

   ISO acting as an agent for an Acquiring Bank.

          19.    "High-risk merchants" were a class of merchants who, from the

   perspective of Acquiring Banks and/or.their ISO(s), represented a higher-than­

   normal risk that their customers would dispute their charges ("chargebacks") or

   otherwise seek a refund, potentially resulting in a financial loss to the Acquiring

   BanJc. Merchants who engaged in "negative option marketing" or "card rebilling"

   sales models were typically included in this class of merchants.

          20.    "Negative option marketing" referred broadly to a category of sales

   techniques in which sellers interpreted a customer's failure to take an affirmative

   action, such as rejecting an offer, or failing to cancel during a trial period, as an

   assent by the customer to be further charged for goods or services. These additional

   charges often occurred without explicit knowledge or notification to the customer.

          21.    "Card Rebilling" referred broadly to a category of sales techniques

   where a seller periodically charged a customer's card, with or without providing
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   additional goods or services. This rebilling often occurred without notice to the

   customer and the customer often lacked initial knowledge that their card would be

   subsequently charged.

             22.   "Mastercard Alert to Control High-Risk [Merchantsr' or "MATCH"

   list, was a database maintained by Mastercard Inc .. and available to Acquiring

   Banlcs, ISO(s), and others within the card payment industry. which identified and

   flagged merchants and individuals who had been determined by one or more

   financial institutions to be an unacceptably high-risk, associated with fraud. or

   otherwise ineligible to continue a payment processing relationship with. Placement

   of a merchant or individual on the MATCH list was highly likely to impact their

   ability to obtain merchant processing services from other financial institutions in the

   future.

             Card Pavment Networks

             23.   Within the United States, acceptance of a credit or debit card by a

   merchant at a point-of-sale or over the internet required the merchant to have a

   merchant account through an Acquiring Bank.

             24.   Acquiring Banks had contractual agreements with card payment

   networks. such as "VISA., and Mastercard,., and were held by the card payment
                                     14




   network as the responsible party when a charge was disputed. cancelled, or otherwise

   refunded. In tum, Acquiring Banlcs had agreements with their merchants to be made

   whole or indemnified by the merchant when a chargeback resulted in a loss to the

   Acquiring Bank.
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          25.   Generally, merchant accounts were established by a merchant preparing

   and submitting an application to an Acquiring Bank through an ISO. The application

   contained statements of fact about the merchant, such as a listing of the owners of

   the business, the nature of products sold, and the modality of the sales (e.g. online, or

   from a storefront). Applications were signed by the principal owners of the business.

   Acquiring Banks relied on truthful information being conveyed from the merchant

   about the nature of their business, so that the ISO/Acquiring Bank could assess the

   risk of a particular merchant in deciding to provide a merchant account.

         26.    Merchants who engaged in high-risk practices, such as negative option

   marketing or card rebilling sales, and who, as a result, obtained a high number of

   chargebacks or refunds obligating the Acquiring Bank, were at risk of having their

   merchant accounts terminated. Merchants who had their accounts terminated for

   this reason may have been reported by the ISO or Acquiring Bank for inclusion on

   the MATCH list, resulting in adverse consequences for the merchant.

   C.    Overview of Conspiracy

         27.    LIBURD! and Goldstein devised a scheme intended to allow them to

   conduct high-risk merchant transactions, such as negative option marketing and/or

   card rebilling, while insulating themselves from the personal liabilities and risks

   associated with being high-risk merchants, by fraudulently establishing merchant

   accounts for entities they controlled in the name of IBOs, including CARBONE ill,

   by false pretenses to Acquiring Banks. SCOTTO and WALKER, with knowledge of

   LIBURDI and Goldstein's fraudulent representations to the financial institutions,
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   accepted proceeds stemming from LIBURD! and Goldstein's activities to facilitate
   the production of internet advertising intended to bring new customers.

   D.     The Conspiracy

          28.    Beginning on an unknown date, but from at least in or around May 23,
   2018, and continuing through to in or around May 8, 2023, in the Middle District of
   Florida and elsewhere, the defendants,

                                  DANIEL LIBURD!,
                                  JOSEPH SCOITO,
                                GREGORY WALKER, and
                                 FRANK CARBONE           m,
   did knowingly and voluntarily combine, conspire, confederate, and agree with
   others, both known and unknown to the Grand Jury, to execute and attempt to
   execute a scheme or artifice to defraud a financial institution, in violation of 18
   u.s.c. § 1344.
   E.     Manner and Means of the Conspiracy

          29.    The manner and means by which the defendants and their
   coconspirators sought to accomplish the object of the conspiracy included, among
   others, the following:

                 a.    It was a part of the conspiracy that conspirators, and others
   would and did recruit IBO(s) under false pretenses, for purposes of obtaining and
   using their PI!;




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                b.         It was a further part of the conspiracy that conspirators and

   others would and did use the PII of the IBO(s) to create and cause to be created

   various shell companies;

                c.         It was a further part of the conspiracy that conspirators and

   others would and did take steps, and direct others to take steps, to make the shell

   companies appear legitimate, including by establishing email addresses and product

   sale websites for the shell companies, obtaining Employer Identification Numbers for

   the shell companies, and opening and causing to be opened business bank accounts

   in the names of the shell companies;

                d.         It was a further part of the conspiracy that conspirators and

   others would and did apply for merchant accounts with Acquiring Bank(s) through

   ISO(s) in the name of shell companies for the purpose of engaging in high-risk sales

   practices;

                e.         It was a further part of the conspiracy that, to induce Acquiring

   Bank(s) and their ISO(s) to open merchant accounts in the shell companies' names,

   the conspirators would and did prepare and submit, and cause to be prepared and

   submitted, merchant account applications that included false and fraudulent

   representations and pretenses, such as:

                      1.         hiding the business affiliation of the shell company with

   the conspirators and entities owned, controlled, and directed by the conspirators;

                     ii.         misrepresenting the beneficial ownership information of

   the shell company to hide the control and benefit of the conspirators;
                                                  8
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                        iii.         stating there were no other currently/previously owned
    businesses associated with the purported IBO applicant; and
                        1v.          falsely affirming the truth of the statements in the
    application;

                   f.          It was a further part of the conspiracy that the conspirators would
    and did direct others to develop fake website pages ("bank pages") which were
    provided to the Acquiring Bank(s) and contained false and fraudulent
    representations;

                   g.         It was a further part of the conspiracy that conspirators, in
    concert with others, would and did impersonate IBO(s) during verification phone
    calls from Acquiring Banlcs with the intent to provide misleading, false, and
    fraudulent information;
                   h.          It was a further part of the conspiracy that LIBURD! and others

    would and did use obtained merchant accounts to process credit and/ or debit card
    transactions purportedly relating to the sale of products for customers;
                   t;          It was a further part of the conspiracy that conspirators would

    and did facilitate the publication of advertisements on the Internet related to these
    products and directed internet traffic to the online payment portals established by
    conspirators and others to encourage further sales, while knowing that these
    companies were fraudulently obtained shell companies;




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                 J.      It was a further part of the conspiracy that conspirators would
   and did use the online banking access privileges associated with the shell companies'

   business bank accounts to make and monitor deposits and withdrawals;
                 k.      It was further part of the conspiracy that the conspirators would
   and did misrepresent, hide, and conceal, and cause to be misrepresented, hidden, and
   concealed, the purpose of acts performed in furtherance of the conspiracy.

          All in violation of 18 U.S.C. § 1349.

                                        COUNTTWO
                                         (Bank Fraud)

   A.     Introduction

          30.    The allegations contained in paragraphs 1 through 26 are realleged and

   incorporated here.

   B.     The Scheme and Artifice

          31.    Beginning at least as early as in or about April 26, 2022, and continuing
   through on or about May 8, 2023, in the Middle District of Florida, and elsewhere,
   defendants,

                                   DANIEL LIBURDI and
                                   FRANK CARBONE ill,

    did knowingly, and with intent to defraud, execute, and attempt to execute, a scheme
    and artifice to defraud one or more financial institutions, which scheme and artifice
    employed material falsehoods and omissions, and to knowingly, and with intent to

    defraud, execute and attempt to execute, a scheme and artifice to obtain moneys,


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    funds, credits, assets, and other property owned by, and under the custody and

    control of one or more financial institutions, by means of false and fraudulent

    pretenses, representations, promises and omissions relating to a material fact.

    C.    Manner and Means of the Scheme and Artifice

          32.    The allegations contained in paragraph 29 are realleged and

    incorporated here.

    D.    Execution of the Scheme

          33.    On or about April 26, 2022, the defendants,

                                  DANIEL LIBURDI and
                                  FRANK CARBONE ID,

    knowingly and intentionally executed and attempted to execute and aided and

    abetted in the execution and attempted execution of the aforesaid scheme and

    artifice, by submitting an application on behalf of Swipe Wyre containing materially

    false representations to West Town Payments LLC, to obtain a merchant account

    provided by West Town Bank and Trust.

          All in violation of 18 U.S.C. §§ 1344 and 2.

                                      COUNTTHREE
                                       (Bank Fraud)

    A.    Introduction

          34.    The allegations contained in paragraphs I through 26 are realleged and

    incorporated here.




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    B.    The Scheme and .Artifice

          35.    Beginning on or about October 11, 2019, and continuing through at
    least January 2022, in the Middle District of Florida, and elsewhere, defendant,
                                    DANIEL LIBURD!,

    did knowingly, and with intent to defraud, execute, and attempt to execute, a scheme
    and artifice to defraud one or more financial institutions, which scheme and artifice
    employed material falsehoods and omissions, and to knowingly, and with intent to

    defraud, execute and attempt to execute, a scheme and artifice to obtain moneys,

    funds, credits, assets, and other property owned by, and under the custody and
    control of one or more financial institutions, by means of false and fraudulent
    pretenses, representations, promises and omissions relating to a material fact.

    C.    Manner and Means of the Scheme and Artifice

          36.    The allegations contained in paragraph 29 are realleged and
    incorporated here.

    D.    Execution of the Scheme

          37.    On or about October 11, 2019, the defendant,

                                    DANIEL LIBURD!,

    knowingly and intentionally executed and attempted to execute the aforesaid scheme
    and artifice, by submitting an application on behalf of Quick Body Nutra, LLC
    containing materially false representations to Payroc, LLC, to obtain a merchant
    account provided by Fifth Third Bank, N .A.


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          All in violation of 18 U.S.C. §§ 1344 and 2.

                                       COUNT FOUR.
                              (Money Laundering Conspiracy)

   A.     Introduction

          38.    Persons and entities listed in Part A of Count One, encompassing

    paragraphs 1 through 9, are realleged and incorporated here.

   B.     The Conspiracy

          39.    From in or about December 14, 2021, and continuing through at least
   August 27, 2024, within the Middle District of Florida, and elsewhere,

                                  DANIEL LIBURDI,
                                  JOSEPH SCOTTO,
                                GREGORY WALKER, and
                                 FRANK CARBONE ID,

    did willingly and knowingly combine, conspire, confederate, and agree with one
    another and with others, both known and unknown to the Grand Jury, to conduct

    and attempt to conduct financial transactions, affecting interstate commerce, which
    transactions involved the proceeds of specified unlawful activity, that is, bank fraud
    (18 U.S.C. § 1344), knowing that the property involved in the financial transactions

    represented the proceeds of some form of unlawful activity, and further knowing that
    the transactions were designed in whole or in part with the intent to promote the
    carrying on of such specified unlawful activity, in violation of 18 U.S.C. §
    1956(a)( l)(A).




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   C.     Manner and Means of the Money Laundering Conspiracy

          40.    The manner and means by which the defendants and their

    coconspirators sought to accomplish the objects of the conspiracy included, among

   others, the following:

                 a.    It was part of the conspiracy that conspirators would and did

   receive proceeds of a specified unlawful activity, specifically bank fraud, through

   fraudulently obtained merchant accounts maintained at federally insured financial

   institutions in the Middle District of Florida and elsewhere;

                 b.    It was a further part of the conspiracy that conspirators did

    conduct financial transactions, moving these unlawful proceeds from the merchant

   processing accounts into accounts controlled by one or more of the conspirators in

    the Middle District of Florida and elsewhere;

                 c.    It was a further part of the conspiracy that conspirators

   conducted transactions in the Middle District of Florida and elsewhere, using

   proceeds of specified unlawful activity, specifically, bank fraud, to pay for services in

   promotion of the bank fraud scheme, such as the placement of internet

   advertisements intended to bring customers to websites controlled by the

    conspirators and others for purposes of obtaining additional proceeds from the sale of

   goods, processed through the fraudulent merchant accounts.

          All in violation of 18 U.S.C. § 1956(h).




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                                        FORFEITURE
          1.     The allegations contained in Counts One through Four are incorporated
    by reference for the purpose of alleging forfeitures pursuant to 18 U.S.C. §§ 982(a)(l),
    and 18 U.S.C. § 982(a)(2)(A).
          2.     Upon conviction of a violation of 18 U.S.C. § 1344, and/or a
    conspiracy to violate section 1344 (18 U.S.C. § 1349), the defendants shall forfeit to
    the United States, pursuant to 18 U.S.C. § 982(a)(2)(A), any property constituting, or

    derived from, proceeds obtained, directly or indirectly, as a result of such violation.
          3.     Upon conviction of a conspiracy to violate 18 U.S.C. § 1956, the
    defendants shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(l), any
    property, real or personal, involved in such offense, and any property traceable to
    such property.

          4.     The property to be forfeited includes, but is not limited to, an order of
    forfeiture in the amount of at least $128,144,908.66, which represents the total

    proceeds obtained from, and amount involved in, the offenses, as well as the

    following assets which were purchased with proceeds of, and involved in, the
    offenses:
                 a.     the real property located at 195 Chocolate Hole, USVI, parcel
                        number 3-08203-0603-00, including all improvements thereon
                        and appurtenances thereto;
                 b.     the real property located at 269 N. Hibiscus Dr., Miami Beach,
                        Florida 33139, Tax ID: 02-3232-006-0445, including all
                        improvements thereon and appurtenances thereto;

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                 c.     the real property located at IOI N. Hibiscus Dr., Miami Beach,
                        Florida 33139, Tax ID: 02-3232-006-0550, including all
                        improvements thereon and appurtenances thereto; and

                 d.     the real property located at 205 N. Hibiscus Dr., Miami Beach,
                        Florida 33139, Tax ID: 02-3232-006-0480, including all
                        improvements thereon and appurtenances thereto.
          5.     If any of the property described above, as a result of any act or omission
    of the defendant:
                 a. cannot be located upon the exercise of due diligence;

                 b. has been transferred or sold to, or deposited with, a third party;
                 c. has been placed beyond the jurisdiction of the Court;
                 d. has been substantially diminished in value; or
                 e. has been commingled with other property which cannot be divided
                    without difficulty;




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    the United States shall be entitled to forfeiture of substitute property under the

    provisions of21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(l).



                                             A TRUE BILL




          ROGER B. HANDBERG
          United States Attorney



    By:
          Adam J. uso
          Assista t United States Attorney



    By:
          Carlton C. Gammons
          Assistant United States Attorney
          Chief, Economic Crimes Section




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FORMOBD-34
December 24                      No.

                                UNITED STATES DISTRICT COURT
                                     Middle District of Florida
                                       · Tampa Division


                                THE UNITED STATES OF AMERICA

                                                   vs.
                                         DANIEL LIBURDI,
                                         JOSEPH SCOTTO,
                                       GREGORY WALKER, and
                                        FRANK CARBONE III


                                            INDICTMENT

                                 Violations: 18 U.S.C. §§ 1349, 1344, and 1956(h)




                                              Foreperson

                                 Filed in open court this 18th day

                                 of December 2024.

                                 rku.AMj \J,IIOcilJ'J
                                                     Clerk


                                 Bail$-------
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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

    UNITED STATES OF AMERICA

    v.                                                              CASE NO.

   DANIEL LIBURD!,
   JOSEPH SCOTTO,
   GREGORY WALKER, and
   FRANK CARBONE III

                                             ORDER
          The Motion to Seal Indictment and Related Documents filed by the United

    States is hereby GRANTED, and the Clerk of Court is so directed.

          The Clerk is further directed to seal the Indictment in this cause except when

    necessary to provide certified copies of the Indictment to the United States Attorney's

    Office;

          It is further ordered that upon verbal request from the United States Attorney's

    Office that the United States Marshals Service is to release a certified copy of the

    arrest warrant to the case agent or other appropriate law enforcement and/or to the

    United States Attorney's Office without further order of the Court. It is further

    ordered that the United States Marshals Service or other appropriate law

    enforcement agency may enter the arrest warrant into the National Crime

    Information Center (NCIC) database or other appropriate law enforcement database

    without further order of the Court.

              It is further ordered that the United States may disclose the existence of the
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   Indictment in any search and seizure warrants to be executed in conjunction with the

   arrest of the defendant(s).

           The Clerk is further ordered to unseal all documents relating to the Indictment

   without any further Order of the Court when any named defendant is taken into

   custody.

           DONE AND ORDERED at Tampa, Florida, this 18th day of December,

   2024.




                                            United States Magistrate Judge




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